     Case 4:24-cv-04545   Document 16-1     Filed on 01/17/25 in TXSD   Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ANIA HOWARD,                               §
                                           §
        Plaintiff,                         §
                                           §
v.                                         §   Case Number: 4:24-CV-04545
                                           §
NIELSEN AUDIO, INC.                        §
                                           §
        Defendant.                         §

               ORDER ON DEFENDANT NIELSEN AUDIO, INC.’S
                          MOTION TO DISMISS

        Before the Court is Defendant Nielsen Audio, Inc. Motion to Dismiss (“Motion”)

pursuant to Fed. R. Civ. P. 12(b)(6). After considering the Motion, any response or

reply, pleadings and arguments of the parties, the Court is of the opinion that the

Motion has merit and should be granted.

        It is therefore ORDERED that all Plaintiff’s claims against Defendant are

dismissed in their entirety, with prejudice.

It is SO ORDERED.

        Signed this ___ of ________________, 2025.


                                  _____________________________________________
                                  UNITED STATES DISTRICT JUDGE BRAY
